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AO 91(Rev.08/* ) CriminalComplaint

                                       U NITED STATES D ISTRICT C OU                                               ILED BY                      .C.
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                                                               southernDistrictofFlorida                          -- AFq 21 2219
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                         United StatesofAmerica                                  )                                          s
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                                    v.                                           )
                               YUJINGZHANG          ,
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                                                                CRIM INAL CO M PLAINT

        1,thecomplainantin thiscMe,state thatthefollow ing istrueto the bestofmy knowledgeand belief.
Onoraboutthedatets)of              -   -   ...   ..- --   p)./30/20-1i-..--. ...-. inthecounty of     -   .        Pp.
                                                                                                                     -rp-Beach.
                                                                                                                     l                 - inthe
   southerrv   Districtof
                     -                                    elorida- .      ,t
                                                                       - -.-hedefendantts)violated:
            CodeSection                                                                 Op nseDescri
                                                                                                   ption
18 U.S.C.j 1001                                            False Statementsto a FederalOfficeq
18 U.S.C.5 1752(a)(1)                                      Entering orRemaining in a Restrided Building orGrounds




        Thiscrim inalcomplaintisbased on these facts:

                                           PLEASE SEE AU ACHED AFFIDAVIT



        W Continuedontheattachedsheet.


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                                                                                                          Printed nameand title

Sworn to before meandsigned in my presence.
         (h w/erwoe)
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Date:   .   .-   -   03/31/79-19---.
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                                                                                                          Printed nameand title
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                                           AFFIDA VIT

         Your aftiant,Sam uel Ivanovich,firstbeing duly swom ,docs hereby depose and state as

  follows:

                lnm a SpecialAgentoftheUnited StatesSecretService(tLUSSS''),and lhave
  been so em ployed since M arch,2017. Iam presently assigned to the W estPalm Beach Resident

  Om ce and have received extensive kaining in the investigation ofcotmterfeitcurrency, identity

  theh, check fraud, bank gaud, and access device fraud, threating statem ents toward USSS

  protected persons,secure grotmdsorbuildingsnmong otherthings. Iam an investigativeor1aw

  entbrcement oo cer of the United States, in that I mn em powered by 1aw to conduct

  investigations and to m ake arrests for felony offenses,under the authority of Title 18, United

  StatesCode Section 3056.

         2.     The inform ation in this affidavit is bmsed on m y personal knowledge and

  information obtained from other law enforcementpersonnel,and other individuals who have

  personal know ledge of the facts. The inform ation set forth herein is provided solely for the

  purposeofestablishing probable cause in supportofthe criminalcomplaintcharging Yujing
  Zhang,(hereino er'CZHANGD,withmaking falsestatementstowardFederalLaw Enforcement
  Agents of the U nited States, in violation of Title 1B,U nited States Code, Section 1001 and

  Ilnlawfully entering a restricted building orgrounds,in violation ofTitle 18,U nited States Code,

  Section 1752.Because thisam davitis subm itted forthe lim ited ptupose ofestablishing probable

  cause,itdoesnotincludea1lofthedetailsoftheinvestigation ofwhich youraffiantisaware.

         3.     Beginning on M arch 28,2019,a Protective Zone arotm d the property know n as

  the M ar-a-laago Club, located at 1100 S. Ocean Blvd., Palm Beach, Palm Beach Cotmty,
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   Southern Distlict of Florida, 33480, w as established to secure the building and grounds in

   preparation for the visit of President of the United States D onald J. Tzum p to M ar-a-laago.

   Throughout this property and the area surrotm ding M ar-a-laago,various road blocks,restricted

   access signage,uniform ed Palm Beach County SheriY s Deputies,U .S.Secret Service Special

   Agems,and Uniformed Division Om cers conlolaccess onto the groundsof M ar-a-Lago. ln

   order to even approach duty U .S. Secret Service personnel for purposes of screening, an

   individualattemptingto gainentry to M ar-a-Lago mustpassa largeprom inently displayed white

   sign several feet in height, w ith red and black letting, which contain the following express

   restricted entry w arning:

                      IJN ITED STA TES SECR ET SER VIC E R ESTRIC TED A REA
               ThisareaisunderthejurisdictionoftheU.S.SecretService.You areentering
               A çtRestrided BuildingorGrounds''asdefined in Title 18,United StatesCode,
        Section 1752.Personsenteringwithoutlawfulauthorityaresubjeettoarrestand
                                            prosa ution.

   Youraffiantshallreferto sir sdisplaying thiswarning as ttrestricted access warning signs''

   herein.


          4.      ()n M arch 30,2019,at approxim ately 12:15 p.m .,SpecialAgent Krystle Kerr

   (whowaswearingattirecontaining U.S.SecretServicemarkedpoliceidentifiers),wason duty
   screening persons attempting to gain access into M ar-a-Lago at the designated primary

   checkpointlocated in a parking 1otacross the streetfrom M ar-a-Lago,when she wmsapproached

   by an Asian fem ale,later identified as ZH A NG ,attem pting to gain access into the M ar-a-l-ago

   club. ZH AN G irlfonned SpecialA gentK err thatshe was there to go to the pooland presented

   SpecialAgentKerrwith two RepublicofChina passportsmsidentification,both in the name of

   ZIIANG and displaying herphotograph.Once SpecialA gent Kerr confrm ed the identitication,
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   ZH AN G 'Sinform ation and passports were then provided to M ar-a-Lago security forverification

   thatZhang was listed on the M ar-a-laago access list. lnitially,M ar-a-lyago security wmsunable

   to locate and verify ZH ANG was on the M ar-a-Lago access list. W ith ZIIAN G stating she w as

   going to the pool,M ar-a-l-ago security then called the m anagerofthe Beach C lub to attem ptto

   verify. The M ar-a-Lago M anager on duty at that tim e inform ed M ar-a-laago security that

   ZH ANG is the lastnmne ofa m em ber at the M ar-a-Lago club.ZH A NG w ms asked ifthe true

   member,whoshallbereferredto ast$HZ''herein,washerfather,butshedid notgiveadefmitive

   answer. ZH ANG additionally did notgive a definitive answer when msked if she was there to

   m eetw 1t.
            h anyone. Due to a potentiallanguage banier issue,M ar-a-laago believed herto be the

   relative ofm em berZhang and allow ed heraccess onto the property. Atthistim e,ZHAN G w ms

   obliged to pass two m ore prom inently displayed United States Secret Service restricted access

   w am ing signscontaining the snm e restricted access wam ing referenced above.

                 ZH AN G wasthen picked up by M ar-a-Lago valetdrivervia golf cartshuttle. At

   thistim e the valetdriverasked ZHAN G where she was intending to go on M ar-a-laago property,

   but ZR ANG responded that she didn'tknow where she w anted to go. The valet driver then

   proceeded to drive her to the m ain reception area. During this ride,ZHANG passed three

   additional United States Secret Service A gents w eming m arked U .S. Secret Service police

   clothing in addition to one m ore United States SecretService Restricted A ccess sign.

                 Upon arrivalatthe USSS posted m ain m agnetomd ercheckpoint,ZH A NG exited

   the golf cartand stopped in front of yet another United States Secret Service restricted access

   sir . SpecialAgentPaulPatenaude observed ZHAN G reading the restricted access signage for

   approxim ately 20 secondsbefore proceeding through the m agnetom eters. A ftercom plying with
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   the screening proceduresatthis checkpoint,ZHAN G proceeded to the m ain reception area ofthe

   Mar-a-laago Club. Priorto heranivalatthe reception,ZHANG passed a totaloftwo (2)
   additionalU nited StatesSecretService restricted accesswarning signsin this location.

                 Upon entering the reception area.a specific identified receptionist (hereinaRer
   tttheReceptionist'')greeted ZHANG and asked why she wasatM ar-a-Lago. Aûerbeing asked
   several tim es, ZH A N G finally responded that she was there for a United N ations Chinese

   Am erican Association eventlater in the evening. 'IYe Receptionistknew thiseventdid notexist

   on property asshe has a com plete listofevents. The Receptionistthen proceed to check a11the

   access lists for M ar-a-laago to confirm that ZHANG was approved to be on property. The

   Receptionistconfirm ed thatZH ANG was noton any M ar-a-laago access list. Atthis tim e,the

   Receptionistm ade yotzram antaware ofthe situation and stated thatZH AN G wmsnotauthorized

   to be on property.

                 Youraffiantthen m ade contactwith ZHA NG ,and ZH AN G again stated thatshe

   wœs there to attend a t%united N ations Friendship Event''between China and the U nited States.

   ZH ANG advised your affiant that she cam e to M ar-a-laago early for the event so she could

   familiarize herselfw ith the prom rty and take pictures.ZH A NG stated she had doctlm entation

   purportedly showing herinvitation to the event,butagents were tmable to read itasitwas in

   Chinese. Yolzrafliantnotes again thatno such eventwas scheduled to take place atM ar-a-laago

   duling this tim e period, and thus ZHAN G could not have any legitim ate docum entation

   authorizing her entry to M ar-a-laago for such a purpose. Yotlr affiant further notes that these

   statements were directly contradictory to the ZHANG 'S earlier statem entto SpecialA gentKerr
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  lhatZH ANG was supposedly atM ar-a-l-ago to go the pool. ZH AN G w ms then transported off

  ofM ar-a-Lago property forfurtherinterview ing.

         9.     Youraffiantcontinued to interview ZH A NG ,who freely and w ithoutdifliculty

  conversed with youraffiantin the English language,and informed herthatshe wmsnotallowed

  on M ar-a-Lago property and that she unlaw fully gained access onto the protected grotm ds.

  During this interview , ZH AN G then becam e verbally aggressive with agents and she wms

  detained and trrmqported back to the United States SecretService - W est Palm Beach Resident

  Office.

         10.    ZHAN G w ms then advised of her M iranda W am ings in English which she

  indicated sht understood, and siglwd the warning waiving her M iranda Righls. During the

  second interview ofZHANG,she claimed herChinese friend ttcharles''told herto travelfrom

  Shanghai,China to Palm Beach,Floridw to attend this eventand attem ptto speak with a m em ber

  ofthe President's fam ily aboutChinese and Am erican foreign econom ic relations. A gents were

  unable to obtain any inform ation m ore specilically identifying ZHA NG 'S ptuported contact,

  tscharles,''as ZHANG claim ed she has only spoken to him via $kW eChat,''which youram ant

  knows from investigative research to be the dominant instantmessaging platform in China.

  Additionally, ZH A NG stated that she did nottellagents at the m ain checkpointthat she w as

  goingtothepool. Andwhenthesectuity guardtoldherthenameofttzhang''shejustthoughtit
  wastheperson running the eventand she wasgoingto meetthem .However,youraffiantnotes

  thatZHANG exhibited a detailed knowledge otland ability to converse in and tmderstand even
  subtle nllnnces of,the English language. For exam ple, as agents w ere attem pting to obtain

  written consentforexnm ination ofelectronic devices found in herpossession,ZH AN G read the


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   entire form in English out loud to agents. A dditionally,ZH A NG w ould question agents about

   the context of certain words throughout the form . ln doing so, ZHA NG show ed her

   understanding and com prehension ofthe English language through reading and speaking.

                 lnterview s were conducted of Special Agent Krystle Kem U niform ed Division

   Officer Bryton Peternel and a specific identified M ar-a-laago security ofscer. Each of these

   interviews affirm ed thatZH AN G told SpecialA gent Kerr she was going to the poolatM ar-a-

   Lago. Additionally,O fticer Peternelstated thatshe did not give any responsts w hen œsked if

   %çzhang''w asherfatherorthe person she wmsgoing to see.

          12. ln the colzrse of ZHANG'S investigative detention a totaloffotzr(4) cellular
  telephones,one(1)1aptopcomputer,one(1)extemalharddrivetypedevice,andone(1)thumb
  drive were found in her possession. Agents requested ZH AN G 'S consentto search the devices,

  to w hich ZHAN G consented. A prelim inary forensic exam ination ofthe thum b drive determ ined

   itcontained m aliciousm alw are.

          13.    Your affiant further notcs and submits that thc defendant's false statementto

   SpecialAgent Kerr was m aterialin thatby so stating,ZHANG falsely placed herselfin the

  category of M ar-a-Lago club members,who are permitted pastthe initialsecurity screening

   checkpointand permitted to inside the protectiveperimeterrestricted area to meetwith M ar-a-

   Lago club m anagem ent. Had ZH AN G notfalsely portrayed herselfasa club m em berseeking to

   visit the pool,and instead advised she w ms there to attend the non-existent ttunited N ations

   Friendship Event''between China and the United States,heraccess would have declined by U.S.

   SecretService atthe prelim inary inspection point. Youraffiantfurthernotes thatno sw im m ing

   apparelwas fotmd in ZH A NG 'S possession oron herperson.


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          14.    Bmsed upon the foregoing,youraftiantrespectfully subm itsthatthere is probable

  causetochargedefendantYujing ZHANG with:(a)havingknowingly makeoruseanyfalse,
   tictitious,or fraudulent statem entor representation,to a federalofticer in a m atler w ithin the

  jurisdiction ofthe United States Secret Service,U.S.Departmentof Homeland Security,an
  agency ofthe executive branch ofthe United States,in violation ofTitle 18,United States Code,

   Sedion 1001;and,(b) withhavingknowinglyenteredandremainedinarestricted buildingand
  grolmds,thatis,the grounds of M ar-a-laago,ms defined under Title 18,United States Code,

   Section 1752(c)(1)(B),in violation ofTitle 18,United States Code,Sections 1752(a)(1)and
   1752(b)(2).
          FURTHER YOU R A FFIANT SA YETH NAU GHT




                                                 M UEL      OVICII
                                               SPECIAL AGENT
                                               U.S.SECRET SERV ICE




  SW ORN TO AN D SU BSCRIBED BEFORE
  M E THIS 31StDAY OF M A RC H ,2019,
  I'
   N PA LM BEACH COU NTY,SOU THERN D ISTRICT
  OFFLORIDA.3/ -resegkon # .


  H O N.W ILLIA M M A H EW M AN
  UNITED STA TES M A STR ATE JUDG E




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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT O F FLORIDA
                                 PENALTY SHEET


   Defendant's Name: Yuiino ZHANG
   CaseN0: lq -6 loe - X M
           .



   Count# 1
   Making False Statements to a FederalOfficer
   Title 18,United States Code,Section 1001
   Max.Penalty:0-5 years'im prisonm ent'
                                       ,$250,000fine;0-3 yearsupervised release:
   and,a $100.00 specialassessment.
   Count# 2
   Entering orRem aining in a Restficted Building orGrounds
   Title 18,Uni
              ted States Code,Sections 1752(a)(1)and 1752(b)(2)
   Max.Penalty:0-1years'imprisonmentor0-5years'probationl'  ,$100,000 finez;0-1
   yearsupewised release3:and,a $25.00 specialassessm ent.;




   ISee18 USC ï 3561(c)(2)
   2See 18 USC 1 3571(b)(5)
   3See 18 USC j 35834b)(3)
   4See 18USC ï 3013(a)(1)(A)(iii)
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                          CaseNo lq -6 lo/ -* G
                                        .



   UNITED STATES OF AMERICA,

                                            Plaintil,
   VS.

   YUJING ZHANG,

                                            Defendant.
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   1. Did this m atteroriginate from a m atterpending in the M iamiOffice ofthe United
   States Attorney's Office priorto July 20, 200817

         Yes          X No
   2.    Did thism atteroriginate from a matterpending inthe Nodhern Region ofthe United
   StatesAttorney'sOffice (W estPalm Beach Office)onlypriorto December18, 2011?
         Yes          X No

   3. Did this m atteroriginate from a matterpending in the FortPierce O#ice ofthe
   United States Alorney's Omce priorto August8, 2014?
          Yes         X No
                                                                     Respectfullysubm itted,

                                                                    ARIANA FAJARDO ORSHAN
                                                                      I    STATES
                                                                                                                                                +


                                         BY :
                                                                          C.M CM ILLA
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